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 8
                            IN THE UNITED STATES DISTRICT COURT
 9
10                              EASTERN DISTRICT OF CALIFORNIA

11
12 JOHN R. MARSHALL, an individual; and                  Case No.:
   THE JOHN MARSHALL IRREVOCABLE
13 TRUST DTD FEBRUARY 14, 2017, through
   its trustee, Michael A. Marshall,                     COMPLAINT FOR:
14
                   Plaintiffs,
15                                        1) INTENTIONAL
     vs.                                     MISREPRESENTATION;
16                                        2) NEGLIGENT MISREPRESENTATION;
17   AMERIPRISE FINANCIAL SERVICES, INC., 3) FRAUD BY OMISSIONS;
     a foreign corporation,               4) CHURNING; AND
18                                        5) BREACH OF FIDUCIARY DUTY
19                  Defendant.

20                                                       UNLIMITED JURISDICTION

21                                                       JURY TRIAL DEMANDED
22
23          Plaintiffs complain and allege as follows:
24                 ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
25          1. John R. Marshall is, and at all times herein relevant was, a resident of the State of
26 California who has resided in Sacramento, California, at all relevant times.
27          2. The John Marshall Irrevocable Trust (“Trust”) is, and at all times relevant was, a
28 California Irrevocable Trust formed under the laws of the State of California, with its principal




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 1 place of business in Sacramento, California. Michael A. Marshall has been the trustee of the
 2 Trust at all times since its formation.
 3          3. Plaintiffs are informed and believe, and thereon allege, that Defendant
 4 AMERIPRISE FINANCIAL SERVICES, INC. (“AMERIPRISE”) is, and at all times relevant
 5 was, a foreign corporation, doing business throughout the State of California.
 6          4. Plaintiffs are informed and believe, and thereon allege, that Defendant
 7 AMERIPRISE is, and at all times relevant was, a licensed securities broker-dealer. Plaintiffs
 8 are informed and believe, and thereon allege, that Defendant AMERIPRISE, at all times herein
 9 relevant, was licensed to do business in the State of California, and did do business in the State
10 of California, including with Plaintiffs.
11          5. The District Court has jurisdiction of this matter pursuant to 28 U.S.C. § 1332.
12          6. Ameriprise’s liability, alleged herein, arose in the Counties of Sacramento and
13 Placer. Plaintiffs’ damages occurred in the County of Sacramento. The financial advice,
14 breaches of fiduciary duty, material omissions, and negligent acts and omissions, alleged herein,
15 were made and occurred in the Counties of Placer and Sacramento, through meetings in the
16 County of Placer, and in documents delivered to Plaintiffs in the Counties of Placer and
17 Sacramento. Plaintiffs signed the documents to make the transactions at issue in the Counties of
18 Sacramento and Placer. For each and all of those reasons, venue in the Eastern District of
19 California is appropriate.
20          7. Plaintiffs are informed and believe, and thereon allege, that Kambiz Ghazanfari
21 (“Ghazanfari”), at all times herein relevant, was a registered representative, authorized agent,
22 and employee of AMERIPRISE. Plaintiffs are informed and believe, and thereon allege, that,
23 all times herein relevant, Ghazanfari was acting as an agent of Defendant AMERIPRISE within
24 the scope and course of such agency, in doing the acts herein alleged.
25          8. John Marshall (“J. Marshall”) first opened investment accounts with Ghazanfari at
26 AMERIPRISE around 2000. Ghazanfari, at all times relevant, was a registered representative
27 of AMERIPRISE. Ghazanfari continued to be the financial advisor for J. Marshall until
28 Ghazanfari passed away on December 23, 2020. After J. Marshall formed the Trust, Ghazanfari




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 1 served as the financial advisor for it as well. Over the years, J. Marshall developed a strong
 2 relationship of trust and reliance in Ghazanfari. J. Marshall considered Ghazanfari to be a
 3 friend. J. Marshall would also often seek out Ghazanfari’s advice on financial and real estate
 4 transactions that were not part of his or the Trust’s AMERIPRISE accounts because he had so
 5 much faith in Ghazanfari’s judgment. J. Marshall would always do whatever Ghazanfari
 6 advised.
 7          9. Between 2009 and 2012, Ghazanfari strongly recommended to J. Marshall that he
 8 invest a substantial portion of the assets in his non-retirement accounts into variable annuities.
 9 Ghazanfari told J. Marshall that the variable annuities would grow tax-free, which would be a
10 great benefit for him because of his tax bracket. Ghazanfari told J. Marshall that the variable
11 annuities would generate a return of 9% to 10% a year. Mr. Ghazanfari explained to J. Marshall
12 that, while this anticipated return was significantly less than the return on stocks, it would be
13 well worth it for him because his principal would be completely safe and he would not have to
14 pay taxes on the growth. Ghazanfari gave J. Marshall the impression that variable annuities
15 were a similar investment to municipal bonds in terms of their safety and their tax benefits.
16 Ghazanfari told J. Marshall that the variable annuities would have very low costs. Ghazanfari
17 emphasized that variable annuities were a great investment for higher earners for tax reasons.
18 Ghazanfari also assured J. Marshall that he could take monies out of the variable annuities
19 whenever he wished. Ghazanfari did not tell J. Marshall that he would incur penalties on
20 withdrawals from the variable annuities for the first seven years that he held them. Mr.
21 Ghazanfari also did not disclose the fees and commissions which he made on the variable
22 annuities.
23          10. On July 2, 2009, J. Marshall invested $200,000 into a variable annuity issued by
24 Sun Life, through Ghazanfari and AMERIRPISE (“Sun Life annuity”), based upon
25 Ghazanfari’s recommendation and advice.
26          11. On August 18, 2011, J. Marshall invested $300,000 into a variable annuity issued
27 by Met Life, through Ghazanfari and AMERIRPISE (“Met Life 1 annuity”), based upon
28 Ghazanfari’s recommendation and advice. On January 1, 2012, J. Marshall invested an




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 1 additional $147,000 into the Met Life 1 annuity, based upon Ghazanfari’s recommendation and
 2 advice.
 3           12. On November 14, 2012, J. Marshall invested $150,000 into a second variable
 4 annuity issued by Met Life, through Ghazanfari and AMERIRPISE (“Met Life 2 annuity”),
 5 based upon Ghazanfari’s recommendation and advice.
 6           13. In total, $797,000 of J. Marshall’s investment accounts were invested into variable
 7 annuities as of the end of 2012.
 8           14. Ghazanfari added income riders for which an extra fee was charged to all of the
 9 annuities which Ghazanfari/AMERIPRISE had sold to J. Marshall. At the time Ghazanfari sold
10 the foregoing annuities, J. Marshall was working full-time and earning a high level of income as
11 an insurance agent specializing in property and casualty insurance. J. Marshall had repeatedly
12 told Ghazanfari that he never intended to retire, and that he would work until he was no longer
13 able to do so. J. Marshall therefore did not need income riders because he had no current or
14 anticipated need for guaranteed income. J. Marshall had never requested the income riders. J.
15 Marshall was not aware that income riders had been added to the variable annuities. Ghazanfari
16 did not tell him that. J. Marshall did not read the paperwork related to the variable annuities
17 because he is dyslexic and therefore reading is difficult and time-consuming for him, and
18 because of his total trust in Ghazanfari.
19           15. J. Marshall formed the Trust on February 14, 2017 for the benefit of his children.
20 Shortly thereafter, J. Marshall caused the ownership of the variable annuities to be transferred to
21 the Trust for valuable and adequate consideration. J. Marshall’s brother, Michael Marshall (“M.
22 Marshall”), has been the sole trustee of the Trust at all time since its inception.
23           16. The Sun Life annuity had a seven-year surrender period during which it could not
24 be liquidated without having to pay a penalty. On June 12, 2018, about a week after the
25 surrender period ended, Ghazanfari caused the Sun Life annuity to be surrendered and the
26 proceeds to be invested into a new variable annuity issued to the Trust by RiverSource, which is
27 a company affiliated with AMERIPRISE (“RiverSource annuity”). The Trust followed
28 Ghazanfari’s advice to transfer the monies from the Sun Life annuity to the RiverSource annuity




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 1 because of its settlor J. Marshall’s longstanding relationship of trust and reliance with
 2 Ghazanfari. By advising the Trust to surrender the Sun Life annuity and use the proceeds to
 3 purchase the RiverSource annuity, Ghazanfari caused the Trust to be locked into a new seven-
 4 year contract during which it could not surrender the RiverSource annuity without having to pay
 5 substantial penalties.
 6          17. Ghazanfari added an income rider for which the Trust was charged an additional fee
 7 to the RiverSource annuity. The addition of an income rider to the RiverSource annuity was
 8 completely unjustified because the RiverSource annuity was purchased by the Trust, which is an
 9 irrevocable trust. The beneficiaries of the Trust are J. Marshall’s children, who are young
10 people at the start of their working lives, and who do not have any need for guaranteed income.
11          18. The representations and explanations which Ghazanfari provided in support of his
12 recommendations to purchase the variable annuities were inaccurate and/or misleading.
13 Specifically, growth on variable annuities is tax-deferred, not tax-free. At the time the Sun Life
14 and Met Life annuities were sold to J. Marshall, he did not need tax deferral because he was not
15 planning to retire. Tax deferral also provided no benefit to the Trust, who was the purchaser of
16 the RiverSource annuity. In addition, if capital gains taxes were a major concern for J. Marshall
17 and/or the Trust, then Ghazanfari could have used exchange-traded funds, which do not incur
18 taxable capital gains, to mitigate potential tax consequences.
19          19. Ghazanfari’s representations about the costs, anticipated performance, and safety of
20 the variable annuities were equally misleading. In fact, variable annuities have very high
21 internal fees and costs. Moreover, variable annuities typically have low growth, which is much
22 less than the historical average of 7% to 9% annually for mutual funds and/or individual stocks,
23 because of their high internal fees and because the variable annuity accounts do not perform as
24 well as the mutual funds which they are designed to mirror. In other words, variable annuities
25 provide poor performance combined with high fees. In addition, the variable annuities were
26 invested into market investments and subject to market risk, unless a rider was purchased to
27 protect the principal at an additional fee. Ghazanfari did not tell J. Marshall and/or the Trust
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 1 that they were paying additional monies for the principal protection which he had told them was
 2 an inherent feature of the annuities.
 3          20. Ghazanfari’s representations that J. Marshall and/or the Trust could take monies out
 4 of the variable annuities whenever they wished were misleading because they would have to
 5 pay steep penalties if they withdrew more than ten percent (10%) from the annuities during the
 6 first seven years following their purchase. J. Marshall and the Trust never withdrew any monies
 7 from the variable annuities and therefore did not find out about the surrender penalties until
 8 several months after Ghazanfari had passed away.
 9          21. Ghazanfari passed away unexpectedly on December 23, 2020. Shortly thereafter, J.
10 Marshall’s and the Trust’s accounts at AMERIPRISE were re-assigned to another Ameriprise
11 representative, Cable Doria.
12          22. In a conversation which occurred around August/September 2021, Mr. Doria
13 provided information about the variable annuities which caused J. Marshall to be concerned that
14 they were not good investments. Specifically, Mr. Doria informed J. Marshall that the Trust
15 would have to pay penalties if it withdrew monies from the variable annuities. Mr. Doria also
16 informed J. Marshall that the growth on the annuities was tax-deferred, not tax-free. Mr. Doria
17 informed J. Marshall that variable annuities have all of the risk of a loss in principal as stock
18 market investments. Mr. Doria also implied that variable annuities are expensive investments
19 that do not produce a good return, and that he would not have utilized them.
20          23. J. Marshall was shocked by the information which Mr. Doria had provided. He was
21 particularly upset because Ghazanfari was well aware that J. Marshall had been defrauded with
22 respect to outside investments that he had made. J. Marshall had always felt that Ghazanfari
23 was the one person who he could totally trust for financial advice. He could not believe that
24 Ghazanfari had taken advantage of him by selling him and the Trust expensive and low-
25 performing investments, and that AMERIPRISE would have allowed Ghazanfari to do so.
26          24. As a result of J. Marshall’s conversation with Mr. Doria and what he had learned
27 about the annuities, Plaintiffs decided that they did not want to keep any of their assets with
28 AMERIPRISE. In October 2021, Plaintiffs caused all of their assets to be transferred to another




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 1 broker-dealer, with the exception of the RiverSource annuity which cannot be transferred. The
 2 Trust surrendered the Met Life variable annuities in December 2021. The Trust still owns the
 3 RiverSource annuity because it purchased the RiverSource annuity less than seven years ago
 4 and would therefore have to pay a large penalty if it was surrendered at this time.
 5          25. Plaintiffs are informed and believes, and thereon allege, that the variable annuities
 6 which AMERIPRISE sold to the Trust and to J. Marshall, through AMERIPRISE’s agent
 7 Ghazanfari, were unsuitable for the Trust and J. Marshall, and primarily benefitted
 8 AMERIPRISE and Ghazanfari.
 9          26. Ghazanfari held himself out to have great experience and expertise in the area of
10 financial planning and investments than Plaintiffs. Plaintiffs is informed and believes, and
11 thereon allege, that Ghazanfari intentionally presented himself as having great experience and
12 expertise in financial planning and investments, so that Plaintiffs would rely upon him. As a
13 result, Plaintiffs reposed trust and confidence in Ghazanfari and relied upon Ghazanfari for
14 investment and financial advice. Ghazanfari was Plaintiffs’ broker and financial advisor. For
15 each and all of these reasons, Ghazanfari owed a fiduciary duty to Plaintiffs.
16          27. Defendant AMERIPRISE, as the broker/dealer employing Ghazanfari as its
17 registered representative, had a fiduciary obligation to Plaintiffs to properly supervise
18 Ghazanfari, to establish a reasonable system of supervision and controls with respect to
19 Ghazanfari, and to ensure that Plaintiffs’ funds were properly invested and that the investments
20 made on their behalf were suitable. The relationship between Plaintiffs and AMERIPRISE was
21 fiduciary in nature. It was characterized by trust and confidence on the part of Plaintiffs toward
22 AMERIPRISE and its agent, Ghazanfari, which trust and confidence was encouraged by
23 AMERPRISE and its agent, Ghazanfari.
24          28. Plaintiffs have suffered substantial damage as a result of the wrongful conduct
25 alleged herein. Specifically, Plaintiffs lost much of the benefit of the significant growth in the
26 stock market that occurred in the many years that passed between when the Sun Life and Met
27 Life annuities were purchased and when they were surrendered. The Trust has also continued to
28 lose the benefit of the substantial stock market growth since the RiverSource annuity was




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 1 purchased. J. Marshall had substantially less money at the time the Trust was formed, and the
 2 beneficiaries of the Trust will receive significantly less money, as a result.
 3          29. Plaintiffs did not discover the wrongdoing alleged herein until August/September of
 4 2021.
 5                                    FIRST CAUSE OF ACTION
 6                       FRAUD - INTENTIONAL MISREPRESENTATION
 7                                       (Against All Defendants)
 8          30. Plaintiffs re-allege and incorporate by reference each and all of the preceding
 9 paragraphs, as if set forth fully herein.
10          31. Defendant AMERIPRISE, through its authorized agent and apparent agent
11 Ghazanfari, made the following representations to Plaintiffs regarding the variable annuities:
12               A. The monies invested in the variable annuities would grow tax-free;
13               B. The variable annuities would generate an annual return of 9% to 10%;
14               C. The variable annuities had and would continue to have very low costs.
15          32. The foregoing representations were made verbally at meetings which J.
16 Marshall had with Ghazanfari at Ghazanfari’s office in Roseville, California at the time
17 Plaintiffs purchased the respective variable annuities or shortly before the variable annuities
18 were purchased.
19          33. Plaintiffs are informed and believe, and thereon allege, that Ghazanfari
20 knew that the foregoing representations were false, when he made the foregoing representations,
21 or that he made the foregoing representations recklessly, knowing that he did not know whether
22 his representations were true or false, and in conscious disregard of Plaintiffs’ interests.
23          34. The true facts were as follows:
24               A. Growth within the variable annuities was tax-deferred, not tax-free;
25               B. There was no reasonable or realistic probability that the variable annuities
26 would have 9% to 10% growth a year because: i) the variable annuities have high internal fees
27 and costs which significantly reduced their growth potential; ii) sub-accounts of the variable
28 annuities have historically poor performance which is inferior to the mutual funds they are




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 1 designed to mirror; and iii) a substantial portion of the monies that were invested into the
 2 variable annuities were allocated into bonds which do not have growth that is anywhere close to
 3 9% or 10% a year;
 4               C. The variable annuities have very high costs and internal fees.
 5          35. Plaintiffs were unaware of the falsity of Ghazanfari’s representations and believed
 6 his representations to be true. Plaintiffs reasonably trusted and relied upon Ghazanfari, who
 7 held himself out to be knowledgeable and to have a high degree of expertise in the fields of
 8 financial planning, wealth management, and investments.
 9          36. Plaintiffs are informed and believe, and thereon allege, that Ghazanfari made the
10 foregoing representations with the intent of deceiving Plaintiffs into investing substantial
11 monies into the variable annuities, thereby obtaining large commissions for himself and
12 AMERIPRISE.
13          37. In reliance upon the representations of AMERIPRISE’s agent, Ghazanfari,
14 Plaintiffs purchased the Sun Life annuity, the Met Life annuities and the RiverSource annuity.
15          38. As a direct and proximate result of the intentional and/or reckless
16 misrepresentations alleged herein, Plaintiffs have suffered damages in an amount according to
17 proof.
18          39. As a direct and proximate result of the intentional and/or reckless
19 misrepresentations alleged herein, Plaintiffs have suffered substantial financial losses which
20 have resulted in severe emotional distress.
21          40. The intentional and/or reckless misrepresentations alleged herein were fraudulent,
22 malicious, willful, despicable, and oppressive. Plaintiffs are informed and believe, and thereon
23 allege, that the intentional and/or reckless misrepresentations alleged herein were ratified by a
24 managing agent of AMERIPRISE. Accordingly, punitive damages are warranted against
25 Defendant AMERIPRISE.
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 1                                  SECOND CAUSE OF ACTION
 2                              NEGLIGENT MISREPRESENTATION
 3                                      (Against All Defendants)
 4          41. Plaintiffs re-allege and incorporate by reference paragraphs 1-32 & 34-37 above, as
 5 if set forth fully herein.
 6          42. AMERIPRISE’s agent, Ghazanfari, had insufficient information to ascertain
 7 whether his representations were true or false, and consequently made those misrepresentations
 8 negligently.
 9          43. As a direct and proximate result of the negligent misrepresentations alleged herein,
10 Plaintiffs have suffered damages in an amount according to proof.
11                                   THIRD CAUSE OF ACTION
12                                        FRAUD-OMISSIONS
13                                      (Against All Defendants)
14          44. Plaintiffs re-allege and incorporate by reference each and all of the preceding
15 paragraphs, as if set forth fully herein.
16          45. Plaintiff trusted and relied upon AMERIPRISE and its agent, Ghazanfari.
17 AMERIPRISE and its agent Ghazanfari encouraged such trust and confidence. AMERIPRISE,
18 through its agent Ghazanfari, held itself out as an expert in the areas of investments, securities
19 and financial planning. AMERIPRISE and its agent Ghazanfari offered financial and
20 investment advice to Plaintiffs. Ghazanfari was Plaintiffs’ registered representative, securities
21 broker and financial advisor. Ghazanfari was a licensed securities registered representative,
22 authorized agent, apparent agent and employee of AMERIPRISE, at all relevant times, who was
23 acting in the scope and course of his employment in making the securities recommendations at
24 issue herein. AMERIPRISE, at all relevant times, was a licensed securities broker-dealer
25 charged with responsibility for supervising its registered representatives, including Ghazanfari,
26 and protecting its customers, including Plaintiffs. For each and all of these reasons,
27 AMERIPRISE and its agent Ghazanfari were Plaintiffs’ fiduciaries.
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 1          46. As Plaintiffs’ fiduciaries, AMERIPRISE, on whose behalf Ghazanfari acted, had an
 2 affirmative duty to disclose all material facts known to it about the investments and transactions
 3 which Ghazanfari recommended to Plaintiffs. AMERIPRISE directly and through its agent
 4 Ghazanfari failed to disclose material facts regarding those investments and transactions, as
 5 alleged herein.
 6          47. Plaintiffs are informed and believe, and thereon allege, that AMERIPRISE and its
 7 agent Ghazanfari had exclusive knowledge of past or existing material facts pertaining to
 8 Ghazanfari’s advice and recommendations, and/or to the investments at issue, which were not
 9 known nor reasonably accessible to Plaintiffs. Accordingly, Defendant AMERIPRISE and its
10 agent Ghazanfari had a duty to disclose those facts to Plaintiffs. Defendant AMERIPRISE
11 directly and through its agent Ghazanfari failed to disclose such material facts to Plaintiffs, as
12 alleged herein.
13          48. Ghazanfari, in the course of making representations of material fact to Plaintiffs on
14 behalf of AMERIPRISE, suppressed and/or concealed material facts which were necessary to
15 disclose, so that the statements Ghazanfari made would not be misleading, as alleged herein. As
16 a result of the suppression and concealment of material facts, alleged herein, the statements
17 which Ghazanfari made were misleading. Consequently, AMERIPRISE is liable for
18 Ghazanfari’s failure to disclose the material facts as alleged herein.
19          49. Starting around June 2009, and continuously thereafter, AMERIPRISE directly and
20 through its agent Ghazanfari omitted to disclose the following material facts:
21                A. Growth within the variable annuities was tax-deferred, not tax-free;
22                B. There was no reasonable or realistic probability that the variable annuities
23 would have 9% to 10% growth a year because: i) the variable annuities have high internal fees
24 and costs which significantly reduced their growth potential; ii) sub-accounts of the variable
25 annuities have historically poor performance which is inferior to the mutual funds they are
26 designed to mirror; and iii) a substantial portion of the monies that were invested into the
27 variable annuities were allocated into bonds which do not have growth that is anywhere close to
28 9% or 10% a year;




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 1                C. The variable annuities have very high costs and internal fees;
 2                D. Substantial penalties would have to be paid on withdrawals from the variable
 3 annuities that were taken within the first seven years of when they were sold;
 4                E. Income riders for which Plaintiffs were charged substantial additional fees had
 5 been added to each of the variable annuities that were sold to the Plaintiffs;
 6                F. The variable annuities paid high commissions to Ghazanfari and
 7 AMERIPRISE which were significantly higher than the commissions that Ghazanfari and
 8 AMERIPRISE received from selling mutual funds or individual stocks and bonds;
 9                G. The ability of the variable annuities to grow in value was severely hampered by
10 their high internal fees and costs;
11                H. The variable annuities were subject to all of the risks of investing in the stock
12 market unless Plaintiffs paid a substantial extra fee for a principal protection rider.
13          50. Plaintiffs are informed and believe, and thereon allege, that AMERIPRISE, through
14 its agent Ghazanfari, knowingly omitted to disclose the above material facts with the intent of
15 deceiving Plaintiffs into investing into the variable annuities and continuing to hold the variable
16 annuities, thereby obtaining substantial fees and compensation.
17          51. Plaintiffs are informed and believe, and thereon allege, that AMERIPRISE’s
18 material omissions, described above, were continuous and ongoing, from June 2009 until
19 August/September 2021. Plaintiffs are informed and believe, and thereon allege, that
20 AMERIPRISE’s continuing and knowing omissions were intended to deceive them into keeping
21 their monies in the variable annuities and investing additional monies into the variable
22 annuities, thereby generating substantial fees and compensation for AMERIPRISE and its agent
23 Ghazanfari, and to prevent Plaintiffs from discovering AMERIPRISE’s and Ghazanfari’s
24 misconduct.
25          52. Plaintiffs were unaware of the true facts. They reasonably trusted and relied upon
26 AMERIPRISE and its agent Ghazanfari, who were their fiduciaries.
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 1          53. As a direct and proximate result of AMERIPRISE and its agent Ghazanfari’s
 2 material omissions, alleged herein, Plaintiffs purchased the Sun Life annuity, the Met Life
 3 annuities, and the RiverSource annuity, and retained those annuities.
 4          54. As a direct and proximate result of AMERIPRISE’s fraud by omissions, alleged
 5 herein, Plaintiffs have been damaged in a sum according to proof.
 6          55. As a direct and proximate result of the material omissions alleged herein, Plaintiffs
 7 have suffered substantial financial losses which have resulted in severe emotional distress.
 8          56. The material omissions alleged herein were fraudulent, malicious, willful,
 9 despicable, and oppressive. Plaintiffs are informed and believe, and thereon allege, that the
10 material omissions alleged herein were ratified by a managing agent of AMERIPRISE.
11 Accordingly, punitive damages are warranted against Defendant AMERIPRISE.
12                                  FOURTH CAUSE OF ACTION
13                                             CHURNING
14                                      (Against All Defendants)
15          57. Plaintiffs re-allege and incorporate by reference each and all of the preceding
16 paragraphs as if set forth fully herein.
17          58. Plaintiff trusted and relied upon AMERIPRISE and its agent, Ghazanfari.
18 AMERIPRISE and its agent Ghazanfari encouraged such trust and confidence. AMERIPRISE,
19 through its agent Ghazanfari, held itself out as an expert in the areas of investments, securities
20 and financial planning. AMERIPRISE, through its agent Ghazanfari, offered financial and
21 investment advice to Plaintiffs. Ghazanfari was Plaintiff’s registered representative, securities
22 broker and financial advisor. Ghazanfari was a licensed securities registered representative,
23 authorized agent, apparent agent and employee of AMERIPRISE, at all relevant times, who was
24 acting in the scope and course of his employment in making the securities recommendations at
25 issue herein. AMERIPRISE, at all relevant times, was a licensed securities broker-dealer
26 charged with responsibility for supervising its registered representatives, including Ghazanfari,
27 and protecting its customers, including Plaintiffs. For each and all of these reasons,
28 AMERIPRISE and its agent Ghazanfari were Plaintiffs’ fiduciaries.




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 1          59. Defendant AMERIPRISE and its agent Ghazanfari had a fiduciary duty to only
 2 solicit investments and enter into transactions that were for the primary benefit of Plaintiffs, and
 3 not for their primary benefit.
 4          60. On or about mid-June of 2018, AMERIPRISE, acting through its agent Ghazanfari,
 5 advised, recommended and persuaded the Trust to surrender the Sun Life annuity and to use the
 6 proceeds of the surrender to purchase the RiverSource annuity. Plaintiffs are informed and
 7 believe, and thereon allege, that AMERIPRISE and its agent Ghazanfari received substantial
 8 commissions as a result of the foregoing recommendations and advice. Plaintiffs are informed
 9 and believe, and thereon allege, that AMERIPRISE and its agent Ghazanfari’s primary
10 motivation for advising, recommending and persuading the Trust to surrender the Sun Life
11 annuity and use the proceeds of the surrender to purchase the RiverSource annuity was to obtain
12 commissions for themselves and to benefit AMERIPRISE, which owns RiverSource.
13          61. Plaintiffs trusted Ghazanfari, who had been the longtime financial advisor for the
14 Trust’s settlor, J. Marshall. Plaintiffs were not knowledgeable about investments or variable
15 annuities. Plaintiffs relied completely upon Ghazanfari’s advice in investing their monies. For
16 each and all of these reasons, AMERIPRISE, through its agent Ghazanfari, controlled Plaintiffs’
17 accounts.
18          62. In churning the Trust’s monies from the Sun Life annuity into the RiverSource
19 annuity as set forth above, AMERIPRISE, through its agent Ghazanfari, acted willfully,
20 recklessly, and with conscious disregard for the Trust’s best interests.
21          63. As a direct and proximate result of the churning alleged herein, the Trust has been
22 damaged in a sum according to proof.
23          64. The churning alleged herein was malicious, willful, despicable, and oppressive.
24 Plaintiffs are informed and believe, and thereon allege, that the churning alleged herein was
25 ratified by a managing agent of AMERIPRISE. Accordingly, punitive damages are warranted
26 against Defendant AMERIPRISE.
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 1                                    FIFTH CAUSE OF ACTION
 2                                 BREACH OF FIDUCIARY DUTY
 3                                       (Against All Defendants)
 4          65. Plaintiffs re-allege and incorporate by reference each and all of the preceding
 5 paragraphs, as if set forth fully herein.
 6          66. Plaintiff trusted and relied upon AMERIPRISE and its agent, Ghazanfari.
 7 AMERIPRISE, through its agent Ghazanfari, encouraged such trust and confidence.
 8 AMERIPRISE, through its agent Ghazanfari, held itself out as an expert in the areas of
 9 investments, securities and financial planning. AMERIPRISE, through its agent Ghazanfari,
10 offered financial and investment advice to Plaintiffs. Ghazanfari was Plaintiff’s registered
11 representative, securities broker and financial advisor. Ghazanfari was a licensed securities
12 registered representative, authorized agent, apparent agent and employee of AMERIPRISE, at
13 all relevant times, who was acting in the scope and course of his employment in making the
14 securities recommendations at issue herein. AMERIPRISE, at all relevant times, was a licensed
15 securities broker-dealer charged with responsibility for supervising its registered
16 representatives, including Ghazanfari, and protecting its customers, including Plaintiffs. For
17 each and all of these reasons, AMERIPRISE and its agent Ghazanfari were Plaintiffs’
18 fiduciaries.
19          67. AMERIPRISE and its agent Ghazanfari had a fiduciary duty to determine
20 Plaintiffs’ income, financial situation, needs, risk tolerance, investment goals and time horizon.
21 AMERIPRISE and its agent Ghazanfari had a fiduciary duty to only make financial and
22 investment recommendations, and engage in transactions, which were suitable in light of
23 Plaintiffs’ income, financial situation, needs, risk tolerance, investment goals and time horizon.
24 AMERIPRISE and its agent Ghazanfari had a fiduciary duty to scrupulously refrain from
25 soliciting or engaging in any investment or transaction, unless they had an affirmative
26 objectively reasonable belief that the investment or transaction was suitable for Plaintiffs.
27 AMERIPRISE and its agent Ghazanfari had a fiduciary duty to fully disclose all material facts
28 concerning their financial advice, and the investments and transactions they recommended to




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 1 Plaintiffs and in which they engaged in a manner that was reasonably understandable to the
 2 Plaintiffs. AMERIPRISE and its agent Ghazanfari had a fiduciary duty to explain the nature
 3 and risks of their recommendations and transactions to Plaintiffs, in an understandable way.
 4 AMERIPRISE and its agent Ghazanfari had a fiduciary duty to only make recommendations,
 5 and engage in transactions, that were for the primary benefit of Plaintiffs, rather than for their
 6 primary benefit.
 7          68. AMERIPRISE had a fiduciary duty to review all transactions made by its registered
 8 representative and agent, Ghazanfari, so as to ensure that he was properly managing Plaintiffs’
 9 money. Defendant AMERIPRISE had a fiduciary duty to review all transactions made by its
10 registered representative and agent, Ghazanfari, so as to ensure that he was only making
11 recommendations and investments that were suitable for Plaintiffs. Defendant AMERIPRISE
12 had a fiduciary duty to review all transactions made by its registered representative and agent,
13 Ghazanfari, to ensure that he was only engaging in transactions for the benefit of Plaintiffs,
14 rather than the primary benefit of himself and AMERIPRISE. Defendant AMERIPRISE had a
15 fiduciary duty to ensure that its registered representative and agent, Ghazanfari, did not cause
16 Plaintiffs’ monies to become over-concentrated into any one type of investment. Defendant
17 AMERIPRISE had a fiduciary duty to ensure that Ghazanfari did not make material omissions
18 in the course of soliciting any investment or transaction. Defendant AMERIPRISE had a
19 fiduciary duty to ensure that Ghazanfari disclosed all material facts in the course of soliciting
20 any investment or transaction. Defendant AMERIPRISE also had a fiduciary duty to have a
21 system of supervision and internal controls in place, which would prevent fraud and wrongful
22 conduct on the part of the registered representatives under its supervision.
23          69. Defendant AMERIPRISE, acting through its registered representative and
24 authorized agent, Ghazanfari, breached its fiduciary duty to Plaintiffs in each and all of the
25 following ways:
26               A. Ghazanfari failed to adequately explain the nature, risks, costs, anticipated
27 return, tax ramifications, and downsides of purchasing variable annuities in a manner that was
28 reasonably understandable to the Plaintiffs;




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 1               B. Ghazanfari advised and recommended to J. Marshall that he purchase the Sun
 2 Life annuity and the Met Life annuities. These annuities were completely unsuitable for J.
 3 Marshall in light of his age, income, financial situation, investment goals, risk tolerance, and
 4 financial and investment needs, and insurance needs;
 5               C. Ghazanfari advised and recommended to the Trust that it surrender the Sun Life
 6 annuity and use the surrender payment to purchase the RiverSource annuity. Those
 7 recommendations annuities were completely unsuitable for the Trust in light of its financial
 8 situation, investment goals, and risk tolerance;
 9               D. Ghazanfari added lifetime income riders to each of the annuities. The income
10 riders were completely unsuitable in light of Plaintiffs’ income, financial situation, and
11 investment goals and only served to increase Plaintiffs’ costs and maximize Ghazanfari’s and
12 AMERIPRISE’s commissions;
13               E. Ghazanfari made investment recommendations which primarily benefited
14 himself and AMERIPRISE, and provided no benefit to Plaintiffs, by recommending that
15 Plaintiffs purchase the variable annuities;
16               F. Ghazanfari made investment recommendations which primarily benefited
17 himself and AMERIPRISE, and provided no benefit to the Trust, by recommending that the
18 Trust surrender the Sun Life annuity as soon as the surrender period had ended, and use the
19 proceeds to purchase the RiverSource annuity, thereby locking the Trust into a new seven-year
20 annuity contract;
21               G. Ghazanfari recommended and advised Plaintiffs to invest a substantial amount
22 of their monies into the annuities, which locked up their monies for years, and which had high
23 costs and fees which eroded much of the potential for growth;
24               H. Ghazanfari recommended and advised Plaintiffs to invest their monies into the
25 annuities, even though the Plaintiffs had no need or desire for the purported insurance benefits
26 of variable annuities, or for riders that purported to provide an immediate income benefit;
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 1              I. Ghazanfari recommended and advised Plaintiffs to invest a significant
 2 percentage of their investment assets into variable annuities, thereby causing their accounts to
 3 become over-concentrated into variable annuities;
 4              J. Ghazanfari recommended investments which paid significantly more in
 5 commissions than suitable investments which he could have utilized for Plaintiffs;
 6              K. Ghazanfari failed to comply with industry rules regarding suitability.
 7          67. AMERIPRISE further breached its fiduciary duty in each and all of the following
 8 ways:
 9              A. AMERIPRISE authorized, approved and/or ratified Ghazanfari’s conduct;
10              B. AMERIPRISE failed to have an adequate system of supervision and internal
11 controls in place, which would have prevented and/or corrected Ghazanfari’s conduct, thereby
12 disregarding its duty to provide effective supervision;
13              C. AMERIPRISE failed to adequately supervise Ghazanfari, and the advice,
14 transactions, and recommendations that he made;
15              D. AMERIPRISE failed to adequately review the transactions and investments
16 Ghazanfari recommended and made on Plaintiffs’ behalf;
17              E. AMERIPRISE failed to take adequate preventative and/or corrective action to
18 stop and/or remedy Ghazanfari’s misconduct.
19          70. AMERIPRISE knew, or reasonably should have known, at all times herein relevant,
20 of the breaches of fiduciary duty which are alleged herein.
21          71. Plaintiffs reasonably trusted and relied upon AMERIPRISE and its agent
22 Ghazanfari, who were their fiduciaries.
23          72. As a direct and proximate result of the breaches of fiduciary duty, alleged herein,
24 Plaintiffs have suffered damages in an amount according to proof.
25          73. As a direct and proximate result of the breaches of fiduciary duty alleged herein,
26 Plaintiffs have suffered substantial financial losses which have resulted in severe emotional
27 distress.
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 2          74. AMERIPRISE’s conduct, in breaching its fiduciary duties as alleged herein, was
 3 malicious, willful, despicable, and oppressive, if and to the extent such conduct is based upon
 4 what AMERIPRISE knew as opposed to what it reasonably should have known. Accordingly,
 5 punitive damages are warranted against AMERIPRISE, to the extent its breaches of fiduciary
 6 duty were willful.
 7          75. Plaintiffs are informed and believe, and thereon allege, that Ghazanfari’s breaches
 8 of fiduciary duty were malicious, willful, despicable, and oppressive, if and to the extent such
 9 conduct is based upon what Ghazanfari knew as opposed to what he reasonably should have
10 known. Plaintiffs are further informed and believe, and thereon allege, that Ghazanfari’s
11 breaches of fiduciary duty, alleged herein, were ratified by a managing agent of AMERIPRISE.
12 Accordingly, punitive damages are warranted against Defendant AMERIPRISE, if and to the
13 extent that Ghazanfari’s breaches of fiduciary duty were willful.
14                                    SIXTH CAUSE OF ACTION
15                                             RESCISSION
16                                      (Against All Defendants)
17          76. Plaintiffs re-allege and incorporate by reference each and all of the preceding
18 paragraphs, as if set forth fully herein.
19          77. On or about June 19, 2018, the Trust entered into an annuity contract with
20 RiverSource, which is an entity affiliated with and controlled by AMERIPRISE.
21          78. Plaintiffs are informed and believe, and thereon allege, that the foregoing contract is
22 properly subject to rescission on the following grounds:
23               A. The contract was procured by fraud in the form of intentional
24 misrepresentations and/or knowing omissions of material fact by Ghazanfari, who was an
25 authorized agent and/or apparent agent of AMERIPRISE, as alleged herein;
26               B. The contract was procured by mutual mistake in the form of innocent
27 misrepresentations and/or inadvertent omissions of material fact by Ghazanfari, who was an
28 / / /




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 1 authorized agent and/or apparent agent of AMERIPRISE, as alleged herein. Plaintiffs were
 2 unaware of the true facts;
 3               C. The contract was procured by undue influence. Plaintiffs trusted and relied
 4 upon Ghazanfari, who was an authorized agent and/or apparent agent of AMERIPRISE at all
 5 relevant times. The Trust followed Ghazanfari’s advice to purchase the RiverSource annuity.
 6 Ghazanfari encouraged such trust and reliance. Ghazanfari was Plaintiffs’ fiduciary.
 7 AMERIPRISE, through its agent Ghazanfari, engaged in undue influence justifying rescission
 8 by taking advantage of the fiduciary relationship between Ghazanfari and Plaintiffs for its own
 9 benefit, as alleged herein.
10          79. For each and all of the foregoing reasons, the Trust is entitled to rescission of its
11 contract with RiverSource/AMERIPRISE, and to the return of all monies which the Trust paid
12 for the RiverSource annuity, plus interest thereon at the legal rate, pursuant to California Civil
13 Code Section 1689.
14          WHEREFORE, Plaintiffs pray judgment as follows:
15          1. For compensatory damages in an amount according to proof;
16          2. For rescission of the Trust’s contract with RiverSource/AMERIPRISE, and for
17 recovery of the consideration paid for that investment, plus interest at the legal rate, upon tender
18 of the investment, which is hereby made, pursuant to California Civil Code § 1689;
19          3. For damages in an amount according to proof for emotional distress and mental
20 suffering;
21          4. For punitive and exemplary damages in an amount sufficient to dissuade Defendant
22 from repeating its misconduct, and to serve as an example to similarly situated Defendants;
23          5. For costs of suit herein; and
24          6. For such other and further relief as this honorable court may deem just and proper.
25
     Date: January 8, 2024                 LAW OFFICES OF MELINDA JANE STEUER
26
27                                         By: ____________________________________
                                                     Melinda Jane Steuer
28                                                   Attorney for Plaintiffs




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                                    DEMAND FOR JURY TRIAL
 1
 2                 Plaintiff hereby demands a jury trial for all claims triable by jury.

 3
 4
     Date: January 8, 2024                LAW OFFICES OF MELINDA JANE STEUER
 5
                                          By: ____________________________________
 6                                               Melinda Jane Steuer
 7                                               Attorney for Plaintiff

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